


  OPINION OF THE COURT
 

  On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs. There is no basis upon which we can disturb the trial court’s exercise of discretion, balancing the interests of all concerned, especially the best interests of the children, or its application of the
  
   Weiss v Weiss
  
  (52 NY2d 170) extraordinary circumstances test, as affirmed by the majority at the Appellate Division.
 

  Concur: Chief Judge Wachtler and Judges Simons, Kaye, Alexander, Hancock, Jr., and Bellacosa. Taking no part: Judge Titone.
 
